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IN THE UNITED STATES DISTRICT COURT FOR THE clerks orrice us. olst couRT
AT CHARLOTT ‘
WESTERN DISTRICT OF VIRGINIA SLED EVA

Charlottesville Division SEP 20 2021
Elizabeth Sines, et al [ ay C. DUDLEY, CLE
Plaintiffs t RK
Vv [ Case No: 3:17-cv-072-NKM
Jason Kessler, et al f
Defendants

OBJECTIONS TO PLAINTIFF'S WITNESS LIST (Doc 1047)
PURSUANT TO FED.R.CIV.P. 37

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Comes now the Defendant, Christopher Cantwell, and,he makes the follow-
ing Objections to the Plaintiff's Preliminary List of Witnesses (Doc
1047) Pursuant To Fed.R.Civ.P. 37(c)(1) and otherwise. In support,

Cantwell states as follows:

1) Fed.R.Civ.P. 37(c){1): provides, in pertinent part, that:
"If a party fails to provide information or identify a witness as
required by Rule 26{a) [iay witnesses] or (e) [expert witnesses],
the party is not altowed touse that information or witness to supply
evidence on a motion, at a hearing, or, ata trial, unless the fail-

ure was substantially justified or harmless.”

2) Cantwell objects to the following witnesses being called at trial
that Plaintiffs have not previously disclosed:¢6 him:
a) Jessica Alvarddo;
b) Allen Groves;
c) Sanjay Suchak;
d) Devin Willis.

3) Cantwell objects to the following expert witnesses being called at

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4)

5)

trial because the Plantiffs have not previously disclosed either
then or their expert reports to him:

a) Julie Convisser;

b) Stephen Fenton;

c)} Nadia Webb;

d)} David Webb (it is not clear whether Webb is a fact or expert

witness, but, Cantwell also objects to Webb as an undisclosed

fact witness).

Cantwell objects to the following expert witnesses being’ called at
trial because their expert reports have not been disclosed to him:
a) Deborah Lipstadt, whose testimony Cantwell also objects to
as irrelevant as pled in his Motion In Limine To Exclude All
Evidence Of Defendants’ Biases Against Those Who Identify As
"Jews" Pursuant To Fed.R.Evid. 401, 402, and, 403;
b) «Peter Simi;.<
c) Sharon Reavis, for whom Cantwell has two expert reports but

apparently not all of her reports.

Cantwell objects to the introduction of the deposition testimony .
of the following witnesses as he was not permitted to appear at

the depositions and cross examine these witnesses or. make objections
and because.their depositions have not been disclosed te him so

he cannot object now:

a) Erica Alduino;

b) Robert Ike Baker;

c) Patrick Casey;

d) Michael Chesny:

e) Burt Colucci;

 
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6)

g) Shane Duffy;

nh) Samantha Froelich;
71) Bradley Griffin;
i} Dillon Izarry, aka Dillon Hopper. Cantwell also objects to
referring to him as “Dillon Hopper”, a farcical pseudonym:
k) Vasilfos Pistotis;

1) Thomas Rouseeau,

Cantwell also objects to the following persons on the Plaintiff's
Tiss of "additional witnesses" being called at trial because the
Plaintiff's have not previously disclosed either them or their ex-
pert reports to hin:

a) Clark Batimbusch;

b) Kathleen Blee;

¢) Donna Broshek;

d) Thomas Clay;

e) James Collins;

f) Melissa Elliot;

g) Ted Galbraith;

h) Janice Gilmore;

i) Frank Gwathmey;

j) Thomas Hartka;

k) Martha McCoy;

1) Rebekah Menning:

m) Brant Meyer;

n) Pam Nadell. Cantwell also makes the same objection to her test-

as to Lipstadtis, that it is irrelevant as pled in his Motion
in Limine to Exclude All Evidence Of Defendants’ Biases Against

Those Who Identify As "Jews" Pursuant To Fed.R.Evid. 401, 402,

And 403;
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0) Robert O'Connor;
p) Andrea Roberts;
q) Larry Sabato;

r) Carol Sims;

s) Julie Solomon;

hrs
Sarah Vinson;

v) Michael Webster;

w) Chad Wellmon;

x) Steven Wolf;

y) Steve Young;

z) Tyler Yutzy.

Respectfully Submitted,

 

Christopher Cantwell
USP-Marion

3 PO Box 1000
Marion, IL 62959

CERTIFICATE OF SERVICE

I herbey certify that these Objections were mailed to the Clerk of the
Court, Ist Class Postage Prepaid, for posting on the ECF system to which
all parties are subscribed, and, handed to USP-Marion staff members Nathan

Simpkins and/or Kathy Hill for electronic transmission to the Court, this

17th day of September, 2021.

 
